Case 2:15-cv-01419-MWF-AS Document 127 Filed 11/25/19 Page 1 of 3 Page ID #:5204




    1   DAVID G. SPIVAK (SBN 179684)                                             JS-6
              david@spivaklaw.com
    2   CAROLINE TAHMASSIAN (SBN 285680)
    3         caroline@spivaklaw.com
        THE SPIVAK LAW FIRM
    4   16530 Ventura Blvd., Ste 203
    5   Encino, CA 91436
        Telephone: (818) 582-3086
    6
        Facsimile: (818) 582-2561
    7
    8   Attorneys for Plaintiffs,
        THE ESTATE OF DONALD HARRINGTON, EDWIN AYALA, ERIC SCOTT
    9   POWELL, EMILIO VAZQUEZ, PATRICK GATSON, ANTHONY BRYANT,
   10   JAMAR EVANS, and JAMES WILLIAMS
   11   (Additional attorneys for the Parties on following page)
   12
                               UNITED STATES DISTRICT COURT
   13
   14                        CENTRAL DISTRICT OF CALIFORNIA
   15    THE ESTATE OF DONALD                             Case No.: 15-CV-01419-MWF-ASx
   16    HARRINGTON, EDWIN AYALA,
         ERIC SCOTT POWELL, EMILIO                        ORDER RE: VOLUNTARY
   17    VAZQUEZ, PATRICK GATSON,                         DISMISSAL PURSUANT TO
   18    ANTHONY BRYANT, JAMAR                            F.R.C.P. 41(a)(1)(A)(ii)
         EVANS, and JAMES WILLIAMS, on
   19    behalf of themselves, all others                 Hon. Michael W. Fitzgerald
   20    similarly situated, and the general              Courtroom 1600
         public, and as an “aggrieved
   21
         employee” on behalf of other
   22    “aggrieved employees” under the
   23    Labor Code Private Attorneys General
         Act of 2004,
   24
   25                   Plaintiff,
   26           vs.
   27
         MARTEN TRANSPORT, LTD., a
   28

         The Estate of Donald Harrington, et al. v.   1                      Order Re: Dismissal
         Marten Transport, Ltd.
Case 2:15-cv-01419-MWF-AS Document 127 Filed 11/25/19 Page 2 of 3 Page ID #:5205




    1    Delaware corporation; and DOES 1-
         50, inclusive,
    2
    3                   Defendants.
    4                             ATTORNEYS FOR DEFENDANT
    5
        ANGELA J. RAFOTH (SBN 241966)
    6
              arafoth@littler.com
    7   LITTLER MENDELSON, P.C.
    8   333 Bush Street, 34th Floor
        San Francisco, CA 94104
    9   Telephone: (415) 433-1940
   10   Facsimile: (415) 399-8490
   11   Attorneys for Defendant MARTEN TRANSPORT, LTD.
   12
                        ADDITIONAL ATTORNEYS FOR PLAINTIFFS
   13
   14   SHAUN SETAREH (SBN 204514)
   15         shaun@setarehlaw.com
        SETAREH LAW GROUP
   16   9454 Wilshire Boulevard, Suite 907
   17   Beverly Hills, California 90212
        Telephone: (310) 888-7771
   18   Facsimile: (310) 888-0109
   19
        LOUIS BENOWITZ (SBN 262300)
   20
              louis@benowitzlaw.com
   21   LAW OFFICES OF LOUIS BENOWITZ
   22   9454 Wilshire Boulevard, Penthouse Floor
        Beverly Hills, California 90212
   23   Telephone: (310) 844-5141
   24   Facsimile: (310) 492-4056
   25
   26
   27
   28

         The Estate of Donald Harrington, et al. v.   2           Order Re: Dismissal
         Marten Transport, Ltd.
Case 2:15-cv-01419-MWF-AS Document 127 Filed 11/25/19 Page 3 of 3 Page ID #:5206
